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John confronted Lucas about the missing child. According to the source Lucas
became quiet and denied any involvement. The source then stated Lucas was on
high alert and has a large set of binoculars; so big he has them set ona
tri-pod. Lucas is supposedly watching out 24/7, and has cut off all
communications with anyone. J Badger had told me in a conversation I had with
him that he suspected word had gotten out and Lucas may know we were onto him I
also advised the County Assessor does not conduct lad surveys and we would have
to find an independent private surveyor to assist if we went forward with the
undercover survey rouse. Other information gained was the box-truck had not
moved and the missing child may still be at the property. This is all the
information I can remember for the month of May 2018.

On or about June 6, 2018, I was asked by Undersheriff Miera if I could
assist FBI and NMSP Sgt. Cox with a security detail. I was advised FBI would be
flying a drone over the property and requested assistance. I did assist the FBI
and NMSP Sgt. Cox. We arrived at a location from which was out of sight of the
property. FBI launched a drone and flew overhead the compound. During this
operation I was able to view images being transmitted by the drone to a laptop
computer. At one point during the operation I observe done male wearing a lime
green shirt and two small children on the property, it appeared they were
burning trash in a pit. The male appeared to be carefully placing one item of
trash into the burn pit at a time so as to not make a large amount of smoke. At
approximately 19:00 hrs I observed a female adult wearing red exit the box
truck, and then I observed a male child with her. The male child appeared to be
walking with a distinct limp. The male I observed appeared to be the right age
and height as the missing child Abdul-Ghani Wahhaj. After further surveillance I
did not observe anyone else on the property. I did take a picture of the laptop
screen to document my observation. Measurements of the compound were taken to
aid in a possible tactical plan. The child observed may have had a limp in part
due to the fact his footwear may not have been the right size. I also learned
the FBI had already been flying the drone for some time before I was made aware
of the operation, and it was my understanding they were going to conduct one
more day of flight. I was advised if we felt like we needed them further they
would stay and assist in any way possible. I then concluded my assistance with
the drone operation. I did relay the information I learned to Undersheriff
Miera. After some thought and careful consideration it was decided to have FBI
show the mother Hakima Ramzi the images of the small boy to confirm it was her
son (Abdul-Ghani Wahhaj). On June 11, 2018, I received correspondence from NMSP
Sgt. Cox. The email read in part the mother (Hakima) had reviewed the images and
stated the boy in the video was NOT her son. FBI was going to check if they
could find better video taken and go from there. I will note the information
from Captain Stubs, Clayton County Police Department report number 17064975
stated in the narrative the missing child could not walk and suffered from
seizures. The date of this report was December 10, 2017.

On or about June 12, 2018, I was made aware J Badger had filed civil
processes paperwork at TCSO in an effort to have Lucas Morton removed from the
property. Sgt. Gilbert Atencio placed the paperwork on my desk as he knew I was
working this case. I then advised Undersheriff Steve Miera of the civil process
and he advised to place the paperwork in his box, and he would take care of it.

I don’t not recall the date I received information the civil process
regarding the J Badger case was dismissed by Magistrate Judge E Ortega. I was
also made aware J Badger called NMSP and asked for an officer to assist in going
to his property and evict Lucas Morton. NMSP Sgt. Cox told me a NMSP uniformed
officer drove up the compound and was met at the roadway by Lucas Morton. Lucas
Morton was by all accounts nice to the officer and the officer left the property
without incident. I was then asked by NMSP Sgt. Cox if I could contact J Badger
and ask him if he was willing to assist in this investigation. I was to ask J

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